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2

3                                UNITED STATES DISTRICT COURT

4                                      DISTRICT OF NEVADA

5                                                  ***

6      UNITED STATES OF AMERICA,                         Case No. 3:19-cr-00038-MMD-CLB

7
                                      Plaintiff,                       ORDER
8             v.

9      EDWARD MONET KNIGHT,

10
                                   Defendant.
11

12

13    I.     SUMMARY

14           On August 1, 2019, a grand jury indicted Defendant Edward Monet Knight on two

15    counts of Interference with Commerce by Robbery, in violation of 18 U.S.C. § 1951, and

16    two counts of Use of a Firearm During and in Relation to a Crime of Violence, for two

17    armed robberies of local businesses. (ECF No. 14.) Trial is scheduled for November 17,

18    2020. (ECF No. 60.) Before the Court is Knight’s motion for access to jury selection

19    records and materials under 28 U.S.C. § 1867(f), the Jury Selection and Service Act of

20    1988 (“JSSA”).1 (ECF No. 61 (the “Motion”).) As further explained below, the Court will

21    grant the Motion in part, and deny it in part. Because the JSSA grants criminal defendants

22    the right to access jury selection records in preparation for a fair cross-section challenge,

23    and Knight states he is preparing to make one if the records suggest such a challenge

24    would be meritorious, the Court will generally grant Knight’s requests, and will generally

25    instruct the Clerk of Court to provide any responsive information that it has available to it

26    within a reasonable period of time. However, to the extent Knight is asking the Clerk of

27
             1The   government opposes the Motion. (ECF No. 62.) Knight filed a reply. (ECF No.
28
      65.)
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1     Court to answer specific questions or produce unavailable information, the Motion is

2     denied.2

3     II.      DISCUSSION

4              Knight requests access to grand jury and petit jury records under 28 U.S.C. §

5     1867(f) of the JSSA. The JSSA provides that “all litigants in Federal courts entitled to trial

6     by jury shall have the right to grand and petit juries selected at random from a fair cross-

7     section of the community in the district or division wherein the court convenes.” See 28

8     U.S.C. § 1861. The Sixth Amendment similarly guarantees criminal defendants an

9     ‘impartial jury’ which includes the right to have a jury selected from a fair cross-section of

10    the community. See Taylor v. Louisiana, 419 U.S. 522, 528-31 (1975). To support a fair

11    cross-section claim under the JSSA, Section 1867(f) states:

12             “the contents of records or papers used by the jury commission or clerk in
               connection with the jury selection process shall not be disclosed, except . .
13             . as may be necessary in the preparation or presentation of a motion under
               . . . this section. . . . The parties in a case shall be allowed to inspect,
14
               reproduce, and copy such records or papers at all reasonable times during
15             the preparation and pendency of such a motion.”

16    28 U.S.C. § 1867(f). In Test v. United States, the Supreme Court held that the plain text
17    of Section 1867(f) gives defendant an “essentially . . . unqualified right to inspect jury lists
18    . . . in the preparation of motions challenging jury-selection procedures.” 420 U.S. 28, 30
19    (1975) (footnotes omitted). The Court reasoned that the right to inspect is not only
20    required by the plain language, but the overall purpose of the statute—to ensure juries
21    are selected from a fair cross-section of the community. See id. Furthermore, access to
22    records cannot be conditioned on a showing of a probability of success on the merits of
23    a later jury-selection challenge, but rather defendants need only demonstrate intent to
24    prepare a motion to challenge. See United States v. Beaty, 465 F.2d 1376, 1380 (9th Cir.
25    1972).
26    ///
27
               2Forexample, Knight’s request for information related to the selection of the petit
28    jury is denied without prejudice because the petit jury has not yet been selected, and thus
      such records do not exist.
                                                   2
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1            Knight argues that he is statutorily and constitutionally entitled to the requested

2     jury selection information. (ECF No. 61 at 1-2.) Knight points to the plain text of 28 U.S.C.

3     § 1867(f) and the broad holding in Test v. United States to argue that he has an

4     “unqualified” right to jury selection materials to ensure the grand jury that indicted him and

5     the petit jury that will try his case were selected from a fair cross-section of the community.

6     (Id.) Pursuant to the holding in Beaty, Knight explicitly indicates his intent to exercise his

7     right to challenge the jury selection procedure if the records reveal that the selection

8     procedure does not comply with the law. (Id. at 2.) In particular, Knight argues he is

9     entitled to 22 categories of records:

10           1. Juror Selection Plan for the Federal District of Nevada (“the Jury Selection

11              Plan”);3

12           2. Temporary Juror Selection Plan or Order to accommodate the COVID-19

13              pandemic;

14           3. Any division or district AO-12 or JS-12 forms created relating to the Master Jury

15              Wheel or Qualified Jury Wheel;

16           4. Any statistical or demographic analyses produced to ensure quality and

17              compliance of Master Jury Wheel and Qualified Jury Wheel;

18           5. Date Master Jury Wheel used to summon grand jurors in this case was refilled;

19           6. General Notice as described in Jury Selection Plan Section 1.11;

20           7. The date when grand jurors were summoned in this case;

21           8. The number of persons summoned from the Qualified Jury Wheel to be

22              considered as grand jurors in this case;

23           9. The calculation of proportionality as described in Jury Selection Plan Section

24              2.03;

25
             3The  government provided a copy of the Jury Selection Plan in an exhibit attached
26    to its response (ECF No. 62-1), and the Court subsequently posted it publicly. United
      States District Court for the District of Nevada, Plan for the Random Selection of Grand
27    and Petit Jurors (Amended Jan. 25, 2017), https://www.nvd.uscourts.gov/wp-
      content/uploads/2020/07/9th-Amended-Jury-Plan-Nevada-1-25-2017.pdf. In any event,
28    Knight’s counsel presumably has access to the Jury Selection Plan since numerous
      requests identified in the Motion reference specific sections of the Plan.
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1           10. The calculation of proportionality as described in the Jury Selection Plan

2                 Section 4.05(b);

3           11. The basis (divisional, combined, or entire district) for the grand jury in this case;

4           12. Divisional and District Master Jury Wheels data as described in Jury Selection

5                 Plan Section 1.09;

6           13. Divisional and District Qualified Jury Wheels data as described in Jury

7                 Selection Plan Section 3.05;

8           14. Status codes for potential jurors who were selected from the Master Jury Wheel

9                 for qualification but either had their qualification form returned, did not respond,

10                or were disqualified or exempted from jury service;

11          15. The juror number and status for persons whose juror summons and

12                qualification form were not returned or returned as undeliverable;

13          16. Juror numbers for persons summoned to appear in the Clerk’s Office to

14                complete a juror-qualification questionnaire;

15          17. Juror numbers for persons selected as potential grand jurors in this case;

16          18. Sources of data for Master Jury Wheel used to summon grand jurors in this

17                case as described in Jury Selection Plan Section 2.01;

18          19. Juror qualification and/or summons forms for persons summoned to potentially

19                become grand or trial jurors in this case;

20          20. Any temporary or alternative juror qualification and/or summons forms utilized

21                to accommodate COVID-19;

22          21. Disposition of each summoned grand or trial juror in this case as to excusal,

23                deferment, disqualification, or selection; and

24          22. The attendance record and reason for absence by date for each grand juror.4

25    (ECF No. 61 at 2-6.)

26    ///

27
            4In  his reply, Knight concedes that Request No. 22 (referenced as Request No. 21
28    in the reply) is no longer necessary because the grand jury did not meet during the
      pertinent portion of the COVID-19 pandemic. (ECF No. 65 at 13.)
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1            The Court finds that Knight is entitled to the requested records insomuch as they

2     are available to the Clerk of Court at this time. The Court specifically finds that the plain

3     language of Section 1867(f) in view of the Supreme Court’s holding in Test provides

4     criminal defendants the right to access “contents of records or papers used by the jury

5     commission or clerk in connection with the jury selection process” as “necessary in

6     preparation or presentation of a motion” challenging the jury selection process. See 28

7     U.S.C. § 1867(f); see also Test, 420 U.S. at 30. Knight has satisfactorily demonstrated

8     an intent to prepare a motion to challenge.5 The Court further concludes that Knight has

9     sufficiently demonstrated through his expert witness Jeffrey Martin that the requested

10    information is “necessary” for preparing a fair cross-section challenge. Thus, as discussed

11    below, although the government seeks to distinguish between the necessity of some

12    records over others, the Court concludes that the entirety of the information requested, to

13    the extent they are available to the Clerk of Court, will facilitate Knight’s analysis in

14    preparation for a fair cross-section challenge. Finally, the Court finds that while Knight is

15    entitled to “contents of records or papers used by . . . the clerk in connection with the jury

16    selection process” he is not entitled to request the Clerk of Court answer questions, or

17    produce material currently unavailable. Such requests are outside the scope of the statute

18    and are therefore denied.

19           The government concedes that some (of the 22) requests are appropriate, but

20    maintains that despite the broad holding in Test, much of the requested information

21    cannot be disclosed. (ECF No. 62.) The government begins by making four general

22    arguments as to why the Court should deny Knight’s Motion, and then introduces specific

23    objections in response to specific requests. None are persuasive.

24           First, the government contends that Knight’s request pertaining to the grand jury

25    selection procedure is untimely. (ECF No. 62 at 6.) Knight was indicted on August 1, 2019

26

27           5Specifically,
                         Knight states: “Here, should the jury selection records indicate that
      the grand juries or jury venires selected do not reflect a fair cross section of the
28    community, Defendant intends to exercise his right to challenge the jury selection
      procedures.” (ECF No. 61 at 2.)
                                                5
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1     (ECF No. 14) and filed this Motion on June 26, 2020 (ECF No. 61). The government

2     argues that under Section 1867(a) this span of 11 months will make any subsequent

3     motion untimely, ultimately suggesting the current motion is a “waste of judicial

4     resources.” (ECF No. 62 at 6.) The Court finds this argument unpersuasive. While the

5     time limitations might prohibit Knight from making a timely fair cross-section challenge,

6     that issue is not before the Court at this time. Indeed, the government itself acknowledges

7     the time limitations in Section 1867(a) do not necessarily prohibit Knight from requesting

8     materials.6 Rather, as the Ninth Circuit held in People of Territory of Guam v. Palomo,

9     511 F.2d 255, 257-58 (9th Cir. 1975), the decision of timeliness rests “in the sound

10    discretion of the court.”7 Thus, the Court rejects the government’s general timeliness

11    objection.

12           Second, the government contends that Knight’s request for records regarding the

13    petit jury process are premature. (ECF No. 62 at 6.) More specifically, the government

14    argues that any temporary jury selection measures in place due to COVID-19 are likely

15    to change before the date of Knight’s jury selection, and Knight should only be permitted

16    to inspect the records at a time when it is relevant to his pending jury selection date. (Id.)

17    The Court is generally unpersuaded by the government’s argument, subject to the

18    following exceptions. As to information regarding the petit jury process, any temporary

19    jury selection measures in place because of COVID-19 have generally remained

20    unchanged since August 2020.8 Thus, the Clerk of Court is instructed to provide general

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             6Stating in their response, “[a]lthough the time limitations set forth in Section
22
      1867(a) may not necessarily prohibit Knight from requesting materials under Section
23    1867(f)…” (ECF No. 62 at 6 (citing People of Territory of Guam v. Palomo, 511 F.2d 255,
      257-58 (9th Cir. 1975)).)
24
             7There, defendant moved to inspect jury records the day of trial, and the court held
25    that “although 28 U.S.C. 1867(a) does not control the time for such a motion, the motion
      was clearly untimely under the procedures used in trial courts for the processing and trial
26    of cases. The decision in such a situation rests in the sound discretion of the court.”
      People of Territory of Guam, 511 F.2d at 257.
27
             8OnAugust 27, 2020, the Court issued the Second Amended Temporary General
28    Order 2020-03 “to allow jury trials to proceed in accordance with the Court’s internal plan

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1     responsive information regarding the petit jury process—and modifications made to

2     address COVID-19 risks relating to the petit jury summons and selection process—

3     available to it now. However, the Court finds Knight’s specific requests regarding the

4     summoning of a petit jury for this case premature because a petit jury has not been

5     summoned—and these records are therefore unavailable.9 In sum, the Court finds the

6     government’s argument regarding prematurity unpersuasive to the extent the Clerk of

7     Court has the information Knight is seeking. The Clerk of Court is therefore instructed to

8     provide any responsive material currently available to it.10

9            Third, the government argues that access would be an “unwarranted intrusion on

10    juror privacy.” (ECF No. 62 at 5.) But while the Court shares the government’s concerns

11    about maintaining juror privacy, the parties agree that individual juror information should

12    be protected to the extent any information is disclosed to Knight. (ECF No. 62 at 5; ECF

13    No. 65 at 6.) Knight specifically requests that any personal or identifying information be

14    omitted and offers to review the material in the Clerk’s Office if redaction is not feasible.

15    (ECF No. 60 at 4-5; ECF No. 65 at 6.) Thus, the Court finds the government’s general

16    concerns regarding intrusion on juror privacy will be properly addressed given Knight’s

17    shared, stated commitment to protecting their privacy, but directs the Clerk of Court to

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      for resuming jury trials.” Second Am. Temp. Gen. Order 2020-03, (Aug. 27, 2020),
20    https://www.nvd.uscourts.gov/wp-content/uploads/2020/09/Second-Amended-General-
      Order-2020-03.pdf. A summary of that plan is also publicly posted. United States District
21    Court for the District of Nevada, Summary of Plan for Resuming Jury Trials (Sept. 2,
      2020),     https://www.nvd.uscourts.gov/wp-content/uploads/2020/09/COVID-Summary-
22    Plan-Resum-Jury-Trials.pdf. The Court anticipates that the summary of the plan will be
      revised to remove reference to short trials proceeding first.
23
             9Specifically,  Request Nos. 15, 19, and 21. (ECF No. 61 at 5-6.) Request No. 15
24    seeks the juror number and status for persons whose juror summons and qualification
      form were not returned or returned as undeliverable. (Id. at 5.) Request No. 19 seeks
25    juror qualification and/or summons forms for persons summoned to potentially become
      grand or trial jurors in this case. (Id. at 5.) Request No. 21 seeks the disposition of each
26    summoned grand or trial juror in this case as to excusal, deferment, disqualification, or
      selection. (Id. at 6.)
27
             10For clarity, Knight may seek anything unavailable at this time again, in the future,
28    provided it becomes available to the Clerk of Court. However, the Clerk of Court has no
      continuing obligation to supplement available information.
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1     take the necessary measures to ensure individual juror privacy is protected as to any

2     information it discloses in accordance with this order.

3            Finally, the government argues that Knight’s request for jury selection materials

4     from the entire District of Nevada is improper, as only material from the unofficial Northern

5     Division should be discoverable. (ECF No. 62 at 6-7.) In particular, the government

6     argues that jury selection materials from the unofficial Southern Division are not relevant

7     to any motion Knight might raise because this is a Northern Nevada case. (Id. at 7.) The

8     Court disagrees.

9            The Court finds that because the Jury Selection Plan covers the entire District of

10    Nevada, information for the district as a whole will be necessary in Knight’s evaluation of

11    the Plan.11 More specifically, the Jury Selection Plan divides Nevada’s counties into three

12    jury-management divisions: Las Vegas Jury Division, Reno Jury Division, and Elko Jury

13    Division.12 (ECF No. 62-1 at 3-4.) Further, the government is correct that Knight’s petit

14    jury will be drawn only from the Reno Jury Division, and his grand jury was drawn only

15    from the Reno or Reno and Elko Jury Divisions. (ECF No. 62 at 6-7.) But, because data

16    is collected as one process, Knight requests Districtwide data in order to analyze “internal

17    consistency of the data and completeness of the juror lists” in preparation for a future fair

18    cross-section challenge. (ECF No. 61 at 5.) Thus, the Court finds that information from

19    the entire District is relevant and should be provided.

20           In sum, the Court rejects the government’s general arguments, finding that Knight’s

21    request is not untimely or premature, juror privacy may be properly protected, and

22    Districtwide data is necessary for any cross-section challenge he may bring.

23    ///

24

25           11As noted in his Motion, Knight requests entire District records in order to analyze
      “internal consistency of the data and completeness of the juror lists.” (ECF No. 61 at 5.)
26
             12The Las Vegas Division encompasses Clark, Esmeralda, Lincoln, and Nye
27    counties. The Reno Jury Division encompasses Carson City, Churchill, Douglas, Lander,
      Lyon, Mineral, Pershing, Storey, and Washoe counties. The Elko Jury Division
28    encompasses Elko, Eureka, Humboldt, and White Pine counties.

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1            In addition to its general arguments, the government also argues that many of

2     Knight’s specific requests are unnecessary to prepare a challenge, or not relevant to a

3     potential challenge. (ECF No. 62 at 5, 8, 10-18.) The Court again disagrees. Section

4     1867(f) provides that “the contents of records or papers . . . shall not be disclosed, except

5     . . . as may be necessary in the preparation or presentation of a motion.” 28 U.S.C. §

6     1867(f). Although the government argues ten of the 22 requests are unnecessary or

7     irrelevant to a future challenge, in reviewing the requests as a whole, the Court finds

8     Knight adequately demonstrated a need for the requested information. The Court is

9     particularly persuaded by the written testimony of Knight’s expert witness, who confirms

10    that the requested information will be necessary to ensure the procedures in the jury plan

11    are not only implemented correctly, but consistent with the plan as a whole.13 (ECF No.

12    65-1 at 4-5.) Thus, the Court is unpersuaded by the government’s argument as to certain

13    of Knight’s specific requests.

14           In sum, the Court grants in part and denies in part Knight’s Motion. Because the

15    Court is cognizant of the burden on the Clerk of Court, the Court directs the Clerk of Court

16    to provide only the requested information available to it. To the extent Knight seeks

17    answers to specific questions or production of unavailable information, those requests

18    are denied. The Clerk of Court is further instructed to coordinate with the parties to provide

19    the requested information available to it within a reasonable period of time.

20    III.   CONCLUSION

21           The Court notes that the parties made several arguments and cited to several

22    cases not discussed above. The Court has reviewed these arguments and cases and

23    determines that they do not warrant discussion as they do not affect the outcome of the

24    issues before the Court.

25

26           13Additionally,the expert concludes that the need for data on the jury plan process
      is necessary because “it is common to see jury plans require some interpretation to
27    implement and from those interpretations unintended consequences might follow[;]” thus,
      in order to “analyze systematic causes of under representation, data on the sources of
28    data and the processes used to construct the jury list are critical.” (ECF No. 65-1 at 5.)

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1           It is therefore ordered that Knight’s motion for access to jury selection records and

2     materials (ECF No. 61) is granted in part, and denied in part, as explained above.

3           The Clerk of Court is instructed to produce for inspection, copying, or scanning the

4     information available to it in response to Knights’ 22 requests within a reasonable period

5     of time to both defense counsel and the government. The Court will set a status

6     conference to receive an update on the status of such production if needed.

7           DATED THIS 20th Day of October 2020.

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                                               MIRANDA M. DU
11                                             CHIEF UNITED STATES DISTRICT JUDGE

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